  Case: 1:21-cv-01948 Document #: 57 Filed: 01/17/23 Page 1 of 2 PageID #:1435




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

VALERIE THOMAS                             )
                                           )
            PLAINTIFF,                     )
                                           )       Civil Action 21-cv-01948
            v.                             )
                                           )
LVNV FUNDING                               )       Hon. Elaine E. Bucklo
LLC and RESURGENT CAPITAL                  )
SERVICES, LP.                              )
                                           )
                                           )
            DEFENDANT.                     )       Jury Demanded


                                    Sixth Status Report


         A. Settlement Discussions:

              (1) A settlement conference has been scheduled for February 22, 2023.

              (2) Plaintiff proposes that if the parties are not able to resolve this matter at the
                  settlement conference, the Court set this matter for trial on damages, and are
                  both available the last week of June and the first two weeks of July for trial.

              (3) The Parties anticipate that the trial will last between one and two full days.



Dated: January 17, 2023

/s/ Seth McCormick                                 /s/ Alyssa Johnson
Seth McCormick                                     Nabil G. Foster
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   Case: 1:21-cv-01948 Document #: 57 Filed: 01/17/23 Page 2 of 2 PageID #:1436




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 Counsel for Plaintiff



                               CERTIFICATE OF SERVICE

         I Seth McCormick, an attorney, hereby certify that on January 17, 2023, I electronically
filed the foregoing document using the CM/ECF system, which will send notification of such filing
to all attorneys of record.

                                                           /s/Seth McCormick
                                                           Seth McCormick




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